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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

RYAN MARKUS and TAMMY MARKUS,                  )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )           NO. 19-cv-876-JPG
                                               )
LAKEVIEW LOAN SERVICING, LLC and               )
LOANCARE, LLC,                                 )
                                               )
       Defendants.                             )

                                         JUDGMENT

       The Court having been advised by counsel for the parties that the claims in the above

action have been settled;

       IT IS HEREBY ORDERED AND ADJUDGED that this case is dismissed with prejudice

and without costs.


Dated: October 18, 2021             MARGARET M. ROBERTIE, Clerk of Court
                                    s/ Tina Gray, Deputy Clerk




Approved:      s/ J. Phil Gilbert
               J. PHIL GILBERT
               DISTRICT JUDGE
